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                         OR\G\NAL
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                  -   -   -   X

UNITED STATES OF AMERICA                          SEALED INDICTMENT

       -   V.   -                                 19 Cr.

DARRELL LAWRENCE,                                               '
     a/k/a "Capo,"
DAVON MCCULLOUGH,
     a/k/a "Yung,"
                                              Jl9 CRIM 761,.,
     a/k/a "Dayday,"
GIBRIL DARBOE,
     a/k/a "Mouse,"
     a/k/a "G Money,"
DERRICK CASADO,
     a/k/a "Big Bank,"
     a/k/a "Papa D,"
JUSTIN COLON,
     a/k/a "Lindo,"
MICHAEL ROWE,
     a/k/a "MJ,"
CARLOS RIVERA,
     a/k/a "Nug,"
JAHUAN POLLARD,
     a/k/a "Flip,"
CARLOS ROSARIO,
     a/k/a "Baby Bottle,"
     a/k/a "Carlita,"
     a/k/a "Barlito,"
     a/k/a "Barlos,"
DAVONTE GARCIA,
     a/k/a "VT,"
JOSE NOUEL,
     a/k/a "Tutu,"
JUAN TEJADA,
     a/k/a "Gotti," and
CHRISTIAN LIVERMAN,

                       Defendants.

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                                         COUNT ONE
                                 (Racketeering Conspiracy)

                 The Grand Jury charges:

                                         THE ENTERPRISE

         1.      At     all    times     relevant      to   this    Indictment,        DARRELL

LAWRENCE,         a/k/a       "Capo,"    DAVON MCCULLOUGH,         a/k/a    "Yung,    11
                                                                                           a/k/a

"Dayday," GIBRIL DARBOE, a/k/a "Mouse," a/k/a "G Money," DERRICK

CASADO,         a/k/a    "Big Bank,"       a/k/a    "Papa D,"       JUSTIN COLON,          a/k/a

"Lindo," MICHAEL ROWE,                  a/k/a "MJ,"     CARLOS RIVERA,          a/k/a "Nug,"

JAHUAN POLLARD, a/k/a "Flip," CARLOS ROSARIO, a/k/a "Baby Bottle,"

a/k/a "Carlita," a/k/a "Barlito," a/k/a "Barlos," DAVONTE GARCIA,

a/k/ a        "VT,"   and JOSE NOUEL,         a/k/ a    "Tutu,"     the defendants,         and

others known and unknown, were members and associates of the Mac

Baller Brims (the "Mac Ballers" or the "Enterprise"), a criminal

organization whose members and associates engaged in, among other

things~        narcotics trafficking,           acts involving robbery,              and acts

involving murder.

         2.      The Mac Ballers operated primarily in and around the

46th Precinct in the Bronx,                  New York,       including on and around

Anthony Avenue, East 176th Street, East Tremont Avenue, East 178th

Street, Echo Place, and Walton Avenue, among other locations.

         3.      The Mac Ballers,          including its leadership, membership,

and associates, constituted an "enterprise," as defined by Title

18,   United States             Code,    Section 1961 (4),         that   is,    a   group of

individuals associated in fact, although not a legal entity.                                The

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Enterprise        constituted        an   ongoing        organization          whose   members

functioned as a continuing unit for a common purpose of achieving

the objectives of the Enterprise.                      At all times relevant to this

Indictment,        the    Enterprise has             engaged in,       and its activities

affected, interstate and foreign commerce.

     4.      Certain        members       and    associates        of    the    Mac    Ballers

committed and agreed, attempted, and threatened to commit acts of

violence to protect and expand the territory of the Enterprise, to

protect fellow members and associates of the Enterprise, and to

protect and expand the drug trafficking operation engaged in by

members     of    the     Enterprise.           These    acts     of    violence       included

attempted        murder,    assaults,       and       robberies        intended    either    to

protect the Enterprise's territory, retaliate against members of

rival groups, or to otherwise promote the standing and reputation

of the Mac Ballers amongst rival gangs and others in the community.

     5.      Certain members and associates of the Mac Ballers also

sold narcotics primarily in and around areas in the Bronx,                                  New

York controlled by the Enterprise, as well as trafficked narcotics

to other locations, including Maine.                      The Mac Ballers controlled

narcotics sales in certain areas by prohibiting and preventing

non-members,        outsiders,        and       rival    dealers        from    distributing

narcotics in the area controlled by the Enterprise.

     6.      DARRELL LAWRENCE, a/k/a "Capo," DAVON MCCULLOUGH, a/k/a

"Yung,"     a/k/a        "Dayday,"    GIBRIL          DARBOE,   a/k/a      "Mouse,"       a/k/a


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"G Money," DERRICK CASADO, a/k/a "Big Bank," a/k/a "Papa D," JUSTIN

COLON,    a/k/a "Lindo," MICHAEL ROWE,                 a/k/a "MJ,"       CARLOS RIVERA,

a/k/a "Nug," JAHUAN POLLARD, a/k/a "Flip," CARLOS ROSARIO, a/k/a

"Baby Bottle," a/k/a "Carlito," a/k/a "Barlito," a/k/a "Barlos,"

DAVONTE GARCIA,        a/k/a    "VT,"    and JOSE NOUEL,              a/k/a "Tutu,"     the

defendants, participated in the operation of the Enterprisef and

participated in unlawful and other activities in furtherance of

the conduct of the Enterprise's affairs.

                             PURPOSES OF THE ENTERPRISE

     7.      The purposes of the Enterprise included the following:

             a.      Enriching     the    members        and     associates      of     the

Enterprise        through,     among    other   things,         the    distribution      of

narcotics,        including    cocaine    base,    heroin,        fentanyl,     cocaine,

oxycodone, and marijuana, as well as through robbery.

             b.      Preserving and protecting the power, territory, and

profits of the Enterprise and its members and associates through

attempted     murder     and    other    acts     of    violence        and   threats    of

violence.

             c.      Promoting     and   enhancing        the    Enterprise      and    the

activities of its members and associates.

             d.      Keeping victims and potential victims in fear of

the Enterprise and its members and associates through acts and

threats of violence.




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             e.      Providing assistance to members and associates who

committed crimes for and on behalf of the Enterprise.

                     MEANS AND METHODS OF THE ENTERPRISE

     8.      Among the means and methods employed by the members and

associates in conducting and participating in the conduct of the

affairs of the Enterprise were the following:

             a.      Members and associates of the Enterprise committed,

conspired to commit, attempted to commit, and threatened to commit

acts of violence, including acts involving murder and assault, to

protect and expand the Enterprise's criminal operations,                          and in

connection with rivalries with other street gangs and individuals

adverse to the Enterprise.

             b.      Members    and    associates       of     the   Enterprise      used

threats of violence and physical violence against other members

and associates        to   enforce     and       maintain    discipline    within     the

Enterprise.

             c.      Members    and    associates       of     the   Enterprise      sold

narcotics,        including    cocaine   base,       heroin,       fentanyl,     cocaine,

oxycodone, and marijuana.

             d.      Members     and     associates           of     the       Enterprise

participated in acts involving robbery.

             e.      Members and associates of the Enterprise obtained,

possessed, and used firearms.




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                 f.     Members and associates of the Enterprise promoted

and celebrated the                  criminal      conduct of        the Enterprise,      namely

narcotics         distribution,            acts    involving        violence,     and   firearm

usage, in music videos and on social media websites.

                                   THE RACKETEERING VIOLATION

         9.      From at least in or about 2017, up to and including in

or about 2019, in the Southern District of New York and elsewhere,

DARRELL LAWRENCE,              a/k/a "Capo," DAVON MCCULLOUGH,                   a/k/a "Yung,"

a/k/a "Dayday," GIBRIL DARBOE,                      a/k/a      "Mouse," a/k/a "G Money,"

DERRICK CASADO,             a/k/a "Big Bank," a/k/a "Papa D," JUSTIN COLON,

a/k/a      "Lindo,"         MICHAEL ROWE,         a/k/a     "MJ,"    CARLOS RIVERA,       a/k/a

"Nug," JAHUAN POLLARD, a/k/a "Flip," CARLOS ROSARIO, a/k/a "Baby

Bottle," a/k/a "Carlita," a/k/a "Barlito," a/k/a "Barlos," DAVONTE

GARCIA, a/k/a "VT," and JOSE NOUEL, a/k/a "Tutu," the defendants,

and      others       known    and    unknown,         being   persons     employed     by   and

associated with the enterprise described in paragraphs 1 through

8   of    Count       One     of    this    Indictment,        to   wit,   the    Mac   Ballers

Enterprise, which Enterprise was engaged in, and the activities of

which         affected,       interstate          and    foreign      commerce,      knowingly

combined,        conspired,         confederated,        and agreed together and with

each other to violate the racketeering laws of the United States,

to wit, Section 1962(c) of Title 18, United States Code, that is,

to conduct and participate, directly and indirectly, in the conduct

of the affairs of the Enterprise through a pattern of racketeering


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activity, as that term is defined in Title 18, United States Code,

Section 1961(1) and 1961(5), consisting of:

                a.       multiple acts involving murder, in violation of New

York     State       Penal    Law,    Sections      125. 25     (murder       in    the    second

degree),        110. 00      · (attempt) ,     105.15     ( conspiracy) ,           and     20. 00

(accessory liability);

                b.       multiple     offenses      involving        the    distribution of

controlled substances,               including,     280 grams and more of cocaine

base,    in a        form commonly referred to as                 "crack cocaine,"               and

quantities of heroin, fentanyl, cocaine, oxycodone, and marijuana,

in violation of the laws of the United States, specifically Title

21,    United States Code,             Sections 812,          841 (a) (1),     841 (b) (1) (A),

841(b) (1) (C),          841(b) (1) (D), and 846, and Title 18, United States

Code, Section 2;

                c.       multiple acts involving robbery,                   in violation of

New York State Penal Law,                 Sections 160.15         (robbery in the first

degree), 160.10 (robbery in the second degree), 160.05 (robbery in

the     third degree),          110. 00      (attempt),   105 .10          (conspiracy),         and

20.00 (accessory liability); and

                d.       multiple acts        indictable under Title 18,                   United

States Code, Section 1951 (relating to Hobbs Act robbery).

        10.     It was a       part of       the conspiracy that              the defendants

agreed        that   a    conspirator would         commit      at    least        two    acts    of




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racketeering       activity      in   the    conduct     of   the    affairs   of   the

Enterprise.

                     Notice of Special Sentencing Factors

  A. Narcotics Distribution

        11.    From at least in or about 2017, up to and including in

or about 2019, in the Southern District of New York and elsewhere,

DARRELL LAWRENCE,         a/k/a "Capo," DAVON MCCULLOUGH,              a/k/a "Yung,"

a/k/a "Dayday,"         GIBRIL DARBOE,       a/k/a "Mouse,"         a/k/a "G Money,"

DERRICK CASADO,         a/k/a "Big Bank," a/k/a "Papa D," JUSTIN COLON,

a/k/a     "Lindo,"      MICHAEL ROWE,       a/k/a     "MJ,"   CARLOS RIVERA,     a/k/a

"Nug," JAHUAN POLLARD, ~/k/a "Flip," CARLOS ROSARIO, a/k/a "Baby

Bottle," a/k/a "Carlito," a/k/a "Barlito," a/k/a "Barlos," DAVONTE

GARCIA, a/k/a "VT," and JOSE NOUEL, a/k/a "Tutu," the defendants,

and others       known and unknown,          intentionally and knowingly did

combine, conspire, confederate, and agree together and with each

other to violate the narcotics laws of the United States.                       It was

a part and an object of the conspiracy that LAWRENCE, MCCULLOUGH,

DARBOE,       CASADO,   COLON,   ROWE,      RIVERA,    POLLARD,     ROSARIO,   GARCIA,

NOUEL, and others known and unknown, would and did distribute and

possess with intent to distribute 280 grams and more of cocaine

base, in violation of Title 21, United States Code, Sections 846

and 841(b) (1) (A).

               (Title 18, United States Code, Section 1962(d) .)




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                               COUNT TWO
         {Assault and Attempted Murder in Aid of Racketeering)
                                 {ROWE)

              The Grand Jury further charges:

      12.     At all times relevant to this Indictment, the Mac Ballers,

as   described       in paragraphs       1   through     8   of    Count     One    of   this

Indictment,        which are repeated and incorporated by reference as

though      fully    set   forth    herein,        including      its   leadership,       its

membership, and its associates, constituted an enterprise, as that

term is defined in Title 18, United States Code, Section 1959(b) (2),

that is, an association in fact of individuals engaged in, and the

activities of which affected, interstate and foreign commerce.                           The

Enterprise         constituted     an   ongoing       organization       whose      members

functioned as a continuing unit for a common purpose of achieving

the objectives of the Enterprise.

      13.     At all times relevant to this Indictment, the Mac Ballers,

through      its     members     and    associates,      engaged        in   racketeering

activity, as that term is defined in Title 18, United States Code,

sections 1961(1) and 1959(b) (1), namely, acts involving murder, in

violation      of    New York      Penal     Law;    offenses      involving       narcotics

trafficking, in violation of Title 21, United States Code, Sections

812, 841, and 846; acts involving robbery, in violation of New York

State Penal Law; and acts indictable under Title 18, United States

Code, Section 1951 (relating to Hobbs Act robbery).




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     14.        On or about September 14, 2018, in the Southern District

of New Yo;r-k, MICHAEL ROWE,              a/k/ a "MJ, " the defendant, and others

known and unknown,               as consideration for the receipt of,                      and as

consideration          for   a    promise    and       agreement      to    pay,    a    thing   of

pecuniary value from the Mac Ballers, and for the purpose of gaining

entrance to and maintaining and increasing position in the Mac

Ballers,        an    enterprise      engaged          in   racketeering           activity,     as

described above, knowingly assaulted an individual with a dangerous

weapon and attempted to murder an individual, and aided and abetted

the same,       to wit,      ROWE shot a gun at another individual in the

vicinity of East 176th Street and Anthony Avenue in the Bronx, New

York, in violation of New York Penal Law, Sections 120.14, 125.25,

110.00, and 20.00.

                           (Title 18, United States Code,
                     Sections 1959 (a) (3), 1959 (a) (5), and 2.)

                                        COUNT THREE
                                    (Firearms Offense)
                                           (ROWE)

     The Grand Jury further charges:

     15.        On or about September 14, 2018, in the Southern District

of New York, MICHAEL ROWE, a/k/a "MJ," th~ defendant, during and

in relation to a crime of violence for which he may be prosecuted

in a court of the United States, namely, the assault and attempted

murder     in    aid    of       racketeering          charged   in       Count    Two   of     this

Indictment,          knowingly      did     use    and      carry     a    firearm,      and,     in

furtherance of such crime, did possess a firearm, and did aid and

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abet the use,              carrying,     and possession of a firearm,                     which was

brandished and discharged.

                       (Title 18, United States Code,
             Sections 924 (c) (1) (A) (i), (ii), and (iii), and 2.)

                                             COUNT FOUR
            (Assault and Attempted Murder in Aid of Racketeering)
                                                (COLON)

                   The Grand Jury further charges:

          16.      At all times relevant to this Indictment, the Mac Ballers,

as   described            in paragraphs         1    through    8   of    Count     One    of   this

Indictment,             which are repeated and incorporated by reference as

though           fully    set   forth    herein,          including      its   leadership,       its

membership, and its associates, constituted an enterprise, as that

term is defined in Title 18, United States Code, Section 1959(b) (2),

that is, an association in fact of individuals engaged in, and the

activities of which affected, interstate and foreign commerce.                                  The

Enterprise              constituted     an    ongoing        organization       whose       members

functioned as a continuing unit for a common purpose of achieving

the objectives of the Enterprise.

          1 7.     At all times relevant to this Indictment, the Mac Ballers,

through           its    members      and    associates,        engaged        in   racketeering

activity, as that term is defined in Title 18, United States Code,

Sections 1961(1) and 1959(b) (1), namely, acts involving murder, in

violation of              New York      Penal       Law;    offenses      involving narcotics

trafficking, in violation of Title 21, United States Code, Sections

812, .841, and 846; acts indictable under 'ritle 18, United States

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Code,    Section          1951       (relating    to      Hobbs   Act       robbery);   and     acts

involving robbery, in violation of New York State Penal Law.

        18.        On or about March 9,              2019,     in the Southern District of

New York,          JUSTIN COLON,        a/k/a "Lindo," the defendant, and others

known and unknown,                  as consideration for the receipt of,                     and as

consideration             for   a    promise     and      agreement     to pay,     a   thing of

pecuniary value from the Mac Ballers, and for the purpose of gaining

entrance to and maintaining and increasing position in the Mac

Ballers,           an    enterprise      engaged          in   racketeering       activity,      as

described above, knowingly assaulted individuals with a dangerous

weapon, and attempted to murder individuals, and aided and abetted

the same, to wit, COLON shot a gun at two individuals in the vicinity

of 1838 Anthony Avenue in the Bronx, New York, in violation of New

York Penal Law, Sections 120.14, 125.25, 110.00, and 20.00.

                              (Title 18, United States Code,
                        Sections 1959 (a) (3), 1959 (a) (5), and 2.)

                                           COUNT FIVE
                                       {Firearms Offense)
                                             {COLON)

        The Grand Jury further charges:

        19.        On or about March 9, 2019, in the Southern District of

New York, JUSTIN COLON, a/k/a "Lindo," the defendant, during and

in relation to a crime of violence for which he may be prosecuted

in a court of the United States, namely, the assault and attempted

murder        in    aid    of    racketeering          charged    in    Count     Four of       this

Indictment,             knowingly      did     use     and     carry    a    firearm,    and,     in

                                                     12
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furtherance of such crime, did possess a firearm, and did aid and

abet the use,         carrying,       and possession of a firearm,                      which was

brandished and discharged.

                      (Title 18, United States Code,
            Sections 924 (c) (1) (A) (i), (ii), and (iii), and 2.)

                                        COUNT SIX
         (Assault and Attempted Murder in Aid of Racketeering)
                                           (CASADO)

              The Grand Jury further charges:

      20.     At all times relevant to this Indictment, the Mac Ballers,

as   described       in paragraphs         1    through     8   of    Count      One     of   this

Indictment,        which are repeated and incorporated by reference as

though      fully    set   forth      herein,         including      its   leadership,        its

membership, and its associates, constituted an enterprise, as that

term is defined in Title 18, United States Code, Section 1959 (b) (2),

that is, an association in fact of individuals engaged in, and the

activities of which affected, interstate and foreign commerce.                                The

Enterprise         constituted     an    ongoing         organization           whose    members

functioned as a continuing unit for a common purpose of achieving

the objectives of the Enterprise.

      21.     At all times relevant to this Indictment, the Mac Ballers,

through      its    members     and     associates,         engaged        in     racketeering

activity, as that term is defined in Title 18, United States Code,

Sections 1961(1) and 1959(b) (1), namely, acts involving murder, in

violation     of     New York      Penal       Law;    offenses      involving narcotics

trafficking, in violation of Title 21, United States Code, Sections

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812,    841, and 846; acts indictable under Title 18, United States

Code,    Section       1951   (relating     to    Hobbs    Act         robbery);     and         acts

involving robbery, in violation of New York State Penal Law.

        22.    On or about May 17, 2019, in the Southern District of New

York,    DERRICK       CASADO,   a/k/a     "Big    Bank,   11
                                                                     a/k/a   "Papa   DI    II     the

defendant, and others known and unknown, as consideration for the

receipt of,         and as consideration for a promise and agreement to

pay, a thing of pecuniary value from the Mac Ballers, and for the

purpose       of    gaining   entrance    to     and maintaining             and   increasing

position in the Mac Ballers, an enterprise engaged in racketeering

activity,      as described above,         knowingly assaulted an individual

with a dangerous weapon, and attempted to murder an individual, and

aided and abetted the same,              to wit,   CASADO shot a gun at another

individual in the leg in the vicinity of Sheridan Avenue and Marcy

Place in the Bronx, New York, in violation of New York Penal Law,

Sections 120.14, 125.25, 110.00, and 20.00

                           (Title 18, United States Code,
                     Sections 1959 (a) (3), 1959 (a) (5), and 2.)

                                     COUNT SEVEN
                                 (Firearms Offense)
                                       (CASADO)

        The Grand Jury further charges:

        23.    On or about May 17, 2019,            in the Southern District of

New York,          DERRICK CASADO,   a/k/a "Big Bank,           11
                                                                      a/k/a "Papa D,        11
                                                                                                  the

defendant, during and in relation to a crime of violence for which

he may be prosecuted in a court of the United States, namely, the

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                                                                                    ,;
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assault and attempted murder in aid of racketeering charged in

Count     Six     of    this     Indictment,        knowingly       did       use        and   carry a

firearm, and, in furtherance of such crime, did possess a firearm,

and    did aid and abet                the   use,      carrying,    and possession of                  a

firearm, which was brandished and discharged.

                        (Title 18, United States Code,
              Sections 924 (c) (1) (A) (i), (ii), and (iii), and 2.)

                              COUNT EIGHT
         {Assault and Attempted Murder in Aid of Racketeering}
                               (ROSARIO}

                The Grand Jury further charges:

        24.     At all times relevant to this Indictment, the Mac Ballers,

as    described        in paragraphs          1   through    8     of    Count           One   of   this

Indictment,          which are repeated and incorporated by reference as

though        fully    set     forth    herein,        including        its    leadership,           its

membership, and its associates, constituted an enterprise, as that

term is defined in Title 18, United States Code, Section 1959(b) (2),

that is, an association in fact of individuals engaged in, and the

activities of which affected, interstate and foreign commerce.                                       The

Enterprise           constituted       an     ongoing     organization             whose       members

functioned as a continuing unit for a common purpose of achieving

the objectives of the Enterprise.

        25.     At all times relevant to this Indictment, the Mac Ballers,

through        its     members    and        associates,     engaged          in         racketeering

activity, as that term is defined in Title 18, United States Code,

Sections 1961(1) and 1959(b) (1), namely, acts involving murder, in

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                                                                                         .   ~

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violation of          New York          Penal    Law;    offenses        involving       narcotics

trafficking, in violation of Title 21, United States Code, Sections

812,    841, and 846; acts indictable under Title 18, United States

Code,     Section          1951     (relating     to    Hobbs      Act   robbery);       and           acts

involving robbery, in violation of New York State Penal Law.

        26.     On or about July 18, 2019,                   in the Southern District of

New York,       CARLOS ROSARIO,               a/k/a "Baby Bottle,         11
                                                                               a/k/a "Carlito,            11




a/k/a "Barlos,        11
                            a/k/a "Barlito,       11
                                                       the defendant,          and others known

and     unknown,           as     consideration        for    the    receipt       of,           and     as

consideration          for      a    promise    and     agreement        to pay,    a    thing           of

pecuniary value from the Mac Ballers, and for the purpose of gaining

entrance to and maintaining and increasing position in the Mac

Ballers,        an    enterprise         engaged        in   racketeering          activity,             as

described above, knowingly assaulted individuals with a dangerous

weapon, and attempted to murder individuals, and aided and abetted

the     same,    to    wit,         ROSARIO    attempted      to    shoot      a   gun at          other

individuals in the vicinity o·f East 178 Street between Anthony

Avenue and the Grand Concourse in the Bronx, New York, in violation

of New York Penal Law, Sections 120.14, 125.25, 110.00, and 20.00.

                           (Title 18, United States Code,
                     Sections 1959 (a) (3), 1959 (a) (5), and 2.)




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                                          COUNT NINE
                                      (Firearms Offense)
                                           (ROSARIO)

        The Grand Jury further charges:

        27.     On or about July 18, 2019, in the Southern District of

New York,        CARLOS ROSARIO,           a/k/a "Baby Bottle, 11 a/k/a "Carli to,                   11




a/k/a     "Barlos, 11        a/k/a    "Barlito, 11     the    defendant,         during     and     in

relation to a crime of violence for which he may be prosecuted in

a court of the United States, namely,                         the assault and attempted

murder        in aid of        racketeering charged in Count Eight of                             this

Indictment,           knowingly      did    use    and       carry      a     firearm,     and,     in

furtherance of such crime, did possess a firearm, and did aid and

abet the use,           carrying,      and possession of a                  firearm,      which was

brandished.

                        (Title 18, United States Code,
                  Sections 924 (c) (1) (A) (i) and (ii), and 2.)

                               COUNT TEN
         (Assault and Attempted Murder in Aid of Racketeering)
                               (ROSARIO)

                The Grand Jury further charges:

        28.     At all times relevant to this Indictment, the Mac Ballers,

as   described         in paragraphs        1     through      8   of       Count   One    of     this

Indictment,       which are repeated and incorporated by reference as

though        fully    set    forth     herein,        including        its     leadership,        its

membership, and its associates, constituted an enterprise, as that

term is defined in Title 18, United States Code, Section 1959(b) (2),

that is, an association in fact of individuals engaged in, and the

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activities of which affected, interstate and foreign commerce.                                  The

Enterprise          constituted        an     ongoing       organization        whose     members

functioned as.a continuing unit for a common purpose of achieving

the objectives of the Enterprise.

        29.    At all times relevant to this Indictment, the Mac Ballers,

through       its    members         and    associates,        engaged     in    racketeering

activity, as that term is defined in Title 18, United States Code,

Sections 1961(1) and 1959(b) (1), namely, acts involving murder, in

violation of          New York         Penal    Law;     offenses    involving          narcotics

trafficking, in violation of Title 21, United States Code, Sections

812, 841, and 846; acts indictable under Title 18, United States

Code,    Section           1951     (relating    to    Hobbs   Act    robbery) ;        and    acts

involving robbery, in violation of New York State Penal Law.

        30.    On or about July 20,              2019,      in the Southern District of

New York,      CARLOS ROSARIO,              a/k/a "Baby Bottle,       11
                                                                           a/k/a "Carlita,        11




a/k/a "Barlos,        11
                            a/k/a "Barlito,      11
                                                      the defendant,       and others known

and     unknown,           as     consideration       for    the    receipt      of,     and     as

consideration          for      a   promise     and    agreement     to pay,      a     thing    of

pecuniary value from the Mac Ballers, and for the purpose of gaining

entrance to and maintaining and increasing position in the Mac

Ballers,      an     enterprise         engaged        in   racketeering        activity,        as

described above, knowingly assaulted an individual with a dangerous

weapon, and attempted to murder an individual, and aided and abetted

the same, to wit, ROSARIO shot at another individual in the vicinity


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of 2000 Valentine Avenue in the Bronx, New York, in violation of

New York Penal Law, Sections 120.14, 125.25, 110.00, and 20.00.

                           (Title 18, United States Code,
                     Sections 1959 (a) (3), 1959 (a) (5), and 2.)

                                         COUNT ELEVEN
                                      (Firearms Offense)
                                           (ROSARIO)

        The Grand Jury further charges:

        31.        On or about July 20, 2019, in the Southern District of

New York,          CARLOS ROSARIO,          a/k/a "Baby Bottle," a/k/a "Carli to,"

a/k/a    "Barlos,"          a/k/a     "Barlito,"        the    defendant,          during    and     in

relation to a crime of violence for which he may be prosecuted in

a court of the United States, namely,                          the assault and attempted

murder        in    aid    of    racketeering       charged       in       Count    Ten     of     this

Indictment,          knowingly        did    use    and       carry    a    firearm,        and,     in

furtherance of such crime, did possess a firearm, and did aid and

abet the use,             carrying,       and possession of a firearm,                    which was

brandished and discharged.

                    (Title 18, United States Code,
          Sections 924 (c) (1) (A) (i), (ii), and (iii), and 2.)

                                        COUNT TWELVE
                                    (Narcotics Conspiracy)

                   The Grand Jury further charges:

         32. From in or about 2017 up to and including in or about

 2019, in the Southern District of New York and elsewhere, DARRELL

 LAWRENCE,          a/k/a       "Capo,"     DAVON MCCULLOUGH,          a/k/a "Yung,"             a/k/a

 "Dayday," GIBRIL DARBOE, a/k/a "Mouse," a/k/a "G Money," DERRICK

                                                   19
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CASADO,        a/k/a "Big Bank," a/k/a "Papa D," JUSTIN COLON,                      a/k/a

"Lindo,   II    MICHAEL ROWE,         a/k/a "MJ," CARLOS RIVERA,           a/k/a "Nug / //

JAHUAN         POLLARD,       a/k/a    "Flip,"        CARLOS   ROSARIO,    a/k/a    "Baby

Bottle,"         a/k/a    "Carlita,"          a/k/a     "Barlito,"     a/k/a ·"Barlos,"

DAVONTE        GARCIA,        a/k/a   "VT,"     JOSE    NOUEL,    a/k/a   "Tutu,"    JUAN

TEJADA,        a/k/a "Gotti," and CHRISTIAN LIVERMAN,                  the defendants,

and others known and unknown,                    intentionally and knowingly did

combine, conspire, confederate, and agree together and with each

other to violate the narcotics laws of the United States.

     33. It was           a    part and an object of             the   conspiracy that

DARRELL LAWRENCE, a/k/a "Capo," DAVON MCCULLOUGH, a/k/a·"Yung,"

a/k/ a "Dayday, " GIBRIL DARBOE, a/k/ a "Mouse, " a/k/ a "G Money, "

DERRICK CASADO, a/k/a "Big Bank," a/k/a "Papa D," JUSTIN COLON,

a/k/a "Lindo," MICHAEL ROWE,                   a/k/a "MJ,"       CARLOS RIVERA,     a/k/a

"Nug," JAHUAN POLLARD, a/k/a "Flip," CARLOS ROSARIO, a/k/a "Baby

Bottle,"         a/k/a    "Carlita,"          a/k/a    "Barlito,"      a/k/a   "Barlos,"

DAVONTE        GARCIA,    a/k/a       "VT,"     JOSE    NOUEL,    a/k/a   "Tutu,"    JUAN

TEJADA,        a/k/ a   "Got ti," and CHRISTIAN LIVERMAN,              the defendants,

and others known and unknown, would and did distribute and possess

with intent to distribute controlled substances, in violation of

Title 21, United States Code, Section 841(a) (1).

     34. The controlled substances that DARRELL LAWRENCE, a/k/a

"Capo," DAVON MCCULLOUGH,               a/k/a "Yung," a/k/a "Dayday," GIBRIL

DARBOE,        a/k/ a   "Mouse, " a/k/ a       "G Money, " DERRICK CASADO,          a/k/ a


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"Big Bank," a/k/a "Papa D," JUSTIN COLON, a/k/a "Lindo," MICHAEL

ROWE,     a/k/ a   "MJ, "    CARLOS RIVERA,         a/k/ a    "Nug, "    JAHUAN POLLARD,

a/k/a         "Flip,"   CARLOS    ROSARIO,         a/k/a      "Baby       Bottle,"      a/k/a

"Carlita," a/k/a "Barlito," a/k/a "Barlos," DAVONTE GARCIA, a/k/a

"VT," JOSE NOUEL, a/k/a "Tutu," JUAN TEJADA, a/k/a "Gotti," and

CHRISTIAN LIVERMAN, the defendants, conspired to distribute and

possess with intent to distribute were:                       (1)    280 grams and more

of mixtures         and substances       containing a             detectable amount        of

cocaine base, in a form commonly referred to as "crack cocaine,"

in    violation         of   Title     21,        United      States          Code,   Section

841(b) (1) (A); (2) mixtures and substances containing a detectable

amount of heroin, in violation of Title 21, United States Code,

Section 841 (b) (1) (C);         (3)   mixtures and substances containing a

detectable amount of fentanyl,                in violation of Title 21, United

States Code,        Section 841 (b) (1) (C);          (4)    mixtures and substances

containing a detectable amount of cocaine, in violation of Title

21, United States Code, Section 841(b) (1) (C);                         (5)    oxycodone, in

violation of Title 21, United States Code, Section 84l(b) (1) (C);

and     (6)    mixtures and substances containing a detectable amount

of    marijuana,        in violation of           Title     21,     United States       Code,

Section 841 (b) (1) (D).

                (Title 21, United States Code, Section 846.)




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                                     COUNT THIRTEEN
                                  (Firearms Offenses)

       The Grand Jury further charges:

       35.     From in or about 2017 up to and including in or about

2019, in the Southern District of New York and elsewhere, DARRELL

LAWRENCE,      a/k/a       "Capo,"    DAVON MCCULLOUGH,                a/k/a   "Yung,"        a/k/a

"Dayday," GIBRIL DARBOE, a /k/ a ''Mouse," a /k/ a "G Money," DERRICK

CASADO,      a/k/a    "Big Bank,"       a/k/a      "Papa D   I
                                                                 II
                                                                       JUSTIN COLON      I   a/k/a
"Lindo," MICHAEL ROWE,               a/k/a   "MJ,"   CARLOS RIVERA,             a/k/a        "Nug,"

JAHUAN POLLARD, a/k/a "Flip," CARLOS ROSARIO, a/k/a "Baby Bottle,"

a/k/a "Carlito," a/k/a "Barlito," a/k/a "Barlos," DAVONTE GARCIA,

a/k/a "VT," JOSE NOUEL, a/k/a "Tutu," JUAN TEJADA, a/k/a "Gotti,"

and CHRISTIAN LIVERMAN, the defendants, during and in relation to

a drug trafficking crime for which they may be prosecuted in a

court of the United States, namely, the drug trafficking conspiracy

charged in Count Twelve of this Indictment, knowingly did use and

carry firearms,        and in furtherance            of such crime,              did possess

firearms, and did aid and abet the use, carrying, and possession

of firearms, some of which were brandished and discharged.

                     (Title 18, United States Code,
           Sections 924 (c) (1) (A) (i), (ii), and (iii), and 2.)

                     FORFEITURE ALLEGATION AS TO COUNT ONE

      36.     As a result of committing the offense alleged in Count

One   of    this    Indictment,       DARRELL LAWRENCE,               a/k/a    "Capo,"       DAVON

MCCULLOUGH,        a/k/a    "Yung,"    a/k/a      "Dayday,"           GIBRIL DARBOE,         a/k/a


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 "Mouse," a/k/a "G Money," DERRICK CASADO, a/k/a "Big Bank," a/k/a

 "Papa D," JUSTIN COLON, a/k/a "Lindo," MICHAEL ROWE, a/k/a "MJ,"

 CARLOS RIVERA, a/k/a "Nug," JAHUAN POLLARD, a/k/a "Flip," CARLOS

 ROSARIO,    a/k/a "Baby Bottle," a/k/a "Carli to,"                  a/k/a "Barlito,"

 a/k/a "Barlos," DAVONTE GARCIA, a/k/a "VT," and JOSE NOUEL, a/k/a

 "Tutu,"    the     defendants,      shall     forfeit   to    the    United States,

 pursuant to Title 18,         United States Code, Section 1963,                (i)   any

 interests acquired and maintained in violation of Title 18, United

 States     Code,    Section      1962,   which    interests         are    subject    to

 forfeiture to the United States pursuant to Title 18, United States

 Code, Section 1963(a) (1); (ii) any interest in, security of, claims

against, and property and contractual rights of any kind affording

a source of influence over, the enterprise which the defendant has

established, operated, controlled, conducted, and participated in

 the conduct of,        in violation of Title 18,              United States Code,

Section 1962, which interests, securities, claims, and rights are

 subject to forfeiture to the United States pursuant to Title 18,

United States Code,         Section 1963(a) (2);         and    (iii)      any property

 constituting and derived from any proceeds                    which the defendant

· obtained, directly and indirectly, from racketeering activity, in

violation of Title 18,            United States Code,          Section 1962,      which

property is subject to forfeiture to the United States pursuant to

Title 18, United States Code, Section 1963(a) (3).




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               FORFEITURE ALLEGATION AS TO COUNT TWELVE

      37. As     a    result     of    committing        the     controlled     substance

offense     alleged     in   Count      Twelve     of    this     Indictment,       DARRELL

LAWRENCE,      a/k/a "Capo," DAVON MCCULLOUGH,                   a/k/a     "Yung,"    a/k/a

"Dayday," GIBRIL DARBOE, a/k/a "Mouse," a/k/a "G Money," DERRICK

CASADO,    a/k/a "Big Bank," a/k/a "Papa D," JUSTIN COLON,                            a/k/a

"Lindo," MICHAEL ROWE,            a/k/a "MJ," CARLOS RIVERA, a/k/a "Nug,"

JAHUAN     POLLARD,     a/k/a         "Flip,"     CARLOS       ROSARIO,     a/k/a     "Baby

Bottle,"     a/k/a     "Carlito,"         a/k/a     "Barlito,"        a/k/a     "Barlos,"

DAVONTE     GARCIA,     a/k/ a    "VT, "    JOSE    NOUEL,        a/k/ a   "Tutu, "    JUAN

TEJADA,    a/k/a "Got ti," and CHRISTIAN LIVERMAN,                     the defendants,

shall forfeit to the United States, pursuant to Title 21, United

States Code, Section 853, any and all property constituting, or

derived from, any proceeds obtained, directly or indirectly, as

a   result of said offenses and any and all property used,                               or

inten9ed to be used,             in any manner or part,              to commit,       or to

facilitate the commission of,               said offenses,          including but not

limited to a sum of money in United States currency representing

the   amount    of    proceeds        traceable     to     the    commission     of    said

offenses.




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                            Substitute Assets Provision

         38.     If any of the above-described forfeitable property, as

    a result of any act or omission of the defendants:.

                 a.    cannot be     located     upon   the   exercise   of     due
                       diligence;

                 b.    has been transferred or sold to, or deposited with,
                       a third person;

                 c.    has been placed beyond the         jurisdiction of , the
                       Court;

                 d.    has been substantially diminished in value; or

                 e.    has been commingled with other property                which
                       cannot be subdivided without difficulty;

    it is the intent of the United States, pursuant to Title 18, United

    States    Code,   Section 1963 (m),   to    seek forfeiture   of   any other

    property of the defendant up to the value of the above forfeitable

    property.

                 (Title 18, United States Code, Section 1963.)




                                                United States Attorney




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             UNITED STATES DISTRICT COURT
            SOUTHERN DISTRICT OF NEW YORK


                  UNITED STATES OF AMERICA

                              - v. -

          DARRELL LAWRENCE, a/k/a "Capo,"
          DAVON MCCULLOUGH, a/k/a "Yung,"
                               a/k/a "Dayday,"
            GIBRIL DARBOE, a/k/a "Mouse,"
                            a/k/a "G Money,"
         DERRICK CASADO, a/k/a "Big Bank,"
                           a/k/a "Papa D,"
             JUSTIN COLON, a/k/a "Lindo,"
               MICHAEL ROWE, a/k/a "MJ,"
              CARLOS RIVERA, a/k/a "Nug,"
            JAHUAN POLLARD, a/k/a "Flip,"
        CARLOS ROSARIO, a/k/a "Baby Bottle,"
                          a/k/a "Carlito,"
                          a/k/a "Barlito,"
                          a/k/a "Barlos,"
              DAVONTE GARCIA, a/k/a "VT,"
               JOSE NOUEL, a/k/a "Tutu,"
           JUAN TEJADA, a/k/a "Gotti," and
                  CHRISTIAN LIVERMAN,

                                           Defendant.


                      SEALED INDICTMENT

                   19 Cr.

            (Title 18, United States Code,
        Sections 1962 (d) , 1959 (a) (3) and (5) ,
         924(c), and 2; and Title 21, United




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              States Code, Section 846.)

                  ;i3u@                 GEOFFREY S . BERMAN
                               United States Attorney.


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